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                EXHIBIT H
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We are professional political scientists. We write to clarify the evidence in our field for
President Trump’s claim, which he has repeated several times, that millions of non-citizens
voted in the 2016 general election.

The president has cited a 2014 article by Jesse Richman, Gulshan Chattha, and David
Earnest, published in the peer-reviewed journal Electoral Studies, as evidence for this claim.
In that study, Richman and his colleagues used data from the 2008 and 2010 iterations of
the Cooperative Congressional Election Study (CCES), a large-scale, regular survey that
contained more than 30,000 and 55,000 respondents, respectively. The researchers leveraged
questions about respondents’ citizenship status and voting to argue that “between 7.9%
and 14.7% of non-citizens voted in 2008.” Given the non-citizen population of about 19.4
million, the authors concluded, “the number of non-citizen voters. . . could range from just
over 38,000 at the very minimum to nearly 2.8 million at the maximum.” The higher bound
in this statement is the one that appears to have shaped the president’s rhetoric on the issue.

The analysis in this paper has been shown to be incorrect. In a survey as large as the
CCES, even a small rate of response error (where people incorrectly mark the wrong item
on a survey) can lead to incorrect conclusions. Importantly, the findings in Richman et
al. rest on a sample of only 339 respondents who claimed to be non-citizens in 2008, out
of about 30,000 CCES respondents. Stephen Ansolabehere, Samantha Luks, and Brian
Schaffner demonstrated in a 2015 paper (also published in Electoral Studies) that response
error explains nearly all of the supposed non-citizens in Richman et. al’s sample who voted.
The underlying intuition is relatively straightforward: Given the dynamics of the CCES
(a very large overall sample with a very small subpopulation of non-citizens), even with a
very low error rate of 0.1%, we would expect roughly 10% of the people in the “non-citizen”
category would actually be citizens. If those people then voted at a high rate, it would appear
as if a low (but consequential) percentage of non-citizens were voting, which is precisely the
result Richman et al. describe.

Indeed, Ansolabehere and colleagues leverage a key feature of the CCES to investigate this
possibility. When they examined the responses from people who were asked the citizenship
question at two different points in time, they found inconsistencies. The citizenship status
of 56 respondents changed in two years, and 20 people reported moving from citizen to
non-citizen status (which is not even a plausible change). Of those who we can be more
confident are non-citizens, there was not a single voter in 2010. In 2012, there is just one
person who may have voted, but even in that case the evidence suggests that the respondent
was actually not a voter. Thus, we believe that the findings in Richman et. al. are driven
by measurement error in the CCES, and do not accurately reflect the rates of non-citizen
voting in the United States. We agree with Ansolabehere et al. that “the likely percent of
noncitizen voters in recent U.S. elections is 0.”

The scholarly political science community has generally rejected the findings in the Richman
et al. study and we believe it should not be cited or used in any debate over fraudulent
voting.

Signed,
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Brian Schaffner, UMass Amherst                           Elisabeth Anker, George Washington University
Michael G. Miller, Barnard College                       Eric Juenke, Michigan State University
Laila Sorurbakhsh, American University                   Michael Salamone, Washington State University
Emmitt Y. Riley III, DePauw University                   Rebecca Hamlin, UMass Amherst
Christine Thurlow Brenner, UMass Boston                  Justin H. Gross, UMass Amherst
Bernard Fraga, Indiana University                        Philip A. Schrodt, Parus Analytics
Lawrence Markowitz, Rowan University                     Eric McLaughlin, University of Redlands
Scott Braam, University of Illinois, Chicago             Miranda Yaver, Yale University
Paul Zachary, Emory University                           Leonard Williams, Manchester University
William Cubbison, George Washington University           Rob Goodman, Columbia University
Marc Howard Ross, Bryn Mawr College                      Greg Hodgin, Georgia State University
Nathan P. Kalmoe, Louisiana State University             David J. Ciuk, Franklin & Marshall College
Steven V. Miller, Clemson University                     B. Peter Rosendorff, New York University
Jonathan Ladd, Georgetown University                     Sara Chatfield, University of Denver
Maurice T. Cunningham, UMass Boston                      Cali Ellis, University of Southern California
Jonas Hedegaard Hansen, University of Copenhagen         Salil Benegal, DePauw University
Brett L. Carter, University of Southern California       Christopher Weare, Greater Sacramento Economic Council
Yphtach Lelkes, University of Pennsylvania               Samuel E. Bestvater, Indiana University
Erik Gahner Larsen, University of Southern Denmark       Michael Tesler, University of California, Irvine
Jason M. Roberts, University of North Carolina           Boris Heersink, University of Virginia
Matthew Krain, College of Wooster                        Sean Miskell, Syracuse University
Matthew Jarvis, California State University, Fullerton   Matthew Sullivan, University of Michigan
Rebecca Kreitzer, University of North Carolina           Vanessa Williamson, Brookings Institution
Brent Hierman, Virginia Military Institute               Robert Mickey, University of Michigan
Alex Street, Carroll College                             Jay Jennings University of Texas at Austin
Greg Wolf, Colgate University                            Diane E. Yoder, University of Southern California
Daniel M. Smith, Harvard University                      Cassandra Khatri, Lone Star College-University Park
Derek Kauneckis, Ohio University                         Richard Barton, Cornell University
Hans Noel, Georgetown University                         Scott Althaus, University of Illinois, Urbana-Champaign
Emily Schilling, University of Tennessee, Knoxville      Ben Fifield, Princeton University
Steven S. Smith, Washington University                   Elise Roberts, Syracuse University
David P. Redlawsk, University of Delaware                Rob Robinson, California State University, Fullerton
Christopher Warshaw, MIT                                 Nathaniel Birkhead, Kansas State University
James Hedrick, Rice University                           James Newburg, University of Michigan
Todd A. Curry, University of Texas, El Paso              Alexander Coppock, Yale University
Erin Cikanek, University of Michigan                     Matt W. Loftis, Aarhus University
Alex Hertel-Fernandez, Columbia University               Sebastian Karcher, Syracuse University
Joseph E. Uscinski, University of Miami                  Matthew DiGiuseppe, University of Mississippi
Lynda Dodd City University of New York                   David Doherty, Loyola University Chicago
Ariel White, MIT                                         Tom Clark, Emory University
Brittany Bramlett, University of Georgia                 Helen Lindberg, Linnaeus University
Lindsay Nielson, Bucknell University                     Daniel Schlozman, Johns Hopkins University
David A. M. Peterson, Iowa State University              Eric Reinhardt, Emory University
Thomas J. Leeper, London School of Economics             Guy Grossman, University of Pennsylvania
Mike Wagner, University of Wisconsin-Madison             Jeffrey Lax, Columbia University
Dan Cassino, Fairleigh Dickinson University              Robert McGrath, George Mason University
Ryan Enos, Harvard University                            Cyrus Samii, NYU
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Adam Berinsky, MIT                                         Graeme Blair, UCLA
Chris Bonneau, University of Pittsburgh                    Dwaine Jengelley, Purdue University
Seth Masket, University of Denver                          Matthew R. Miles, BYU-Idaho
Douglas Rice, UMass Amherst                                Ngoc Phan, Davidson College
Sara Mitchell, University of Iowa                          Hans Hassell, Cornell College
Paul M. Collins, Jr., UMass Amherst                        Sercan Canbolat, University of Connecticut
Alex Garlick, APSA Congressional Fellow                    Eric Oliver, University of Chicago
Holona Ochs, Lehigh University                             Dr. Ryan Jablonski, London School of Economics
Jon Green, Ohio State University                           Jennifer Nicoll Victor, George Mason University
Thad Dunning, University of California, Berkeley           Tom Waters, Comm. Svc. Soc. of New York
Andrew J. Perrin, UNC Chapel Hill                          Clifford James Carrubba, Emory University
Bethany Albertson, University of Texas at Austin           Ian R. Turner, Texas A&M University
Jeremy Levine, University of Michigan                      Matthew L. Bergbower, Indiana State University
John Lovett, University of Richmond                        Matty Robin, Cardlytics
Patricia Stapleton, Worcester Polytechnic Institute        Melissa Sands, Harvard University
Barry Driscoll, Grinnell College                           Matt Levendusky, University of Pennsylvania
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Dominic Ciolli, Ohio State University                      Michael F. Seese, University of California, San Diego
Kerry L. Haynie, Duke University                           Costas Panagopoulos, Fordham University
Jennifer Diascro, University of California, Wash. Center   Joseph W. Roberts, Roger Williams University
Conor M. Dowling, University of Mississippi                Alexander W. Severson, Florida State University
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Jonathon Kingzette, Ohio State University                  Rebecca Reid, University of Texas at El Paso
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Ursula Daxecker, University of Amsterdam                   Denise Walsh, University of Virginia
William Resh, University of Southern California            Bernard Brennan, University of Illinois
Kyle Davis, Ohio State University                          John Mollenkopf, The Graduate Center, CUNY
Philip A. Klinkner, Hamilton College                       Brandon Kendhammer, Ohio University
Brian Hamel, UCLA                                          William Schultz, Florida State University
Adam J. Newmark, Appalachian State University              Kris-Stella Trump, Harvard Medical School
Alexandra Filindra, University of Illinois, Chicago        Nandini Deo, Lehigh University
Eric van der Vort, Syracuse University                     Rebecca Best, University of Missouri at Kansas City
Amanda Durso, University of Illinois, Chicago              Kim Moloney, American University
Robert Ford, University of Manchester                      Christopher M. Federico, University of Minnesota
Jens Olav Dahlgaard, University of Copenhagen              Kirk A. Randazzo, University of South Carolina
Daniel Bowen, The College of New Jersey                    Adriano Udani, University of Missouri-St. Louis
Celia Paris, Loyola University Maryland                    Stefan Müller, Trinity College Dublin
David C. Kershaw, Slippery Rock University                 Jessica Trounstine, University of California, Merced
Kassra A.R. Oskooii, University of Delaware                Daniel de Kadt, MIT
Jonathan Cervas, University of California Irvine           Keith Gaddie, The University of Oklahoma
Aaron J. Ley, University of Rhode Island                   Yamil Velez, Wesleyan University
Andrew Newman, Ohio State University                       Emily Farris, Texas Christian University
Jocelyn Shadforth, Anne Arundel Community College          Shana Gadarian, Syracuse University
Michael Newell, Syracuse University                        Tom Pepinksy, Cornell University
Nathan Carrington, Syracuse University                     Michael P. Fix, Georgia State University
Amber Wichowsky, Marquette University                      Angela X. Ocampo, UCLA
Matthew Krell, University of Alabama                       Bradford S. Jones, University of California, Davis
